                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


In re:                                           )   Chapter 11
                                                 )
THREE AMINOS, LLC,                               )   Case No. 3:23-bk-02202
                                                 )
                      Debtor.                    )   Hon. Charles M. Walker

_____________________________________________________________________________________

THE DEADLINE FOR FILING A TIMELY RESPONSE IS: July 19, 2023
IF A RESPONSE IS TIMELY FILED, THE HEARING WILL BE: August 30, 2023, at 11:00 a.m.,
Courtroom Two, Second Floor, Customs House, 701 Broadway, Nashville, Tennessee, 37203
_____________________________________________________________________________________

                        NOTICE OF APPLICATION TO EMPLOY
            BRADLEY ARANT BOULT CUMMINGS LLP AS BANKRUPTCY COUNSEL

       The above-captioned debtor (the “Debtor”) has asked the Court for the following relief:
Application to Employ Bradley Arant Boult Cummings LLP as Bankruptcy Counsel, a copy of which is
attached hereto.

        YOUR RIGHTS MAY BE AFFECTED. If you do not want the court to enter the attached
order, or if you want the court to consider your views on the order, then on or before July 17, 2023, you
or your attorney must:

     1.   File with the court your written response or objection explaining your position. PLEASE
NOTE: THE BANKRUPTCY COURT FOR THE MIDDLE DISTRICT OF TENNESSEE
REQUIRES ELECTRONIC FILING. ANY RESPONSE OR OBJECTIONS YOU WISH TO
FILE MUST BE SUBMITTED ELECTRONICALLY. TO FILE ELECTRONICALLY, YOU OR
YOUR ATTORNEY MUST GO TO THE COURT WEBSITE AND FOLLOW THE
INSTRUCTIONS AT https://ecf.tnmb.uscourts.gov.

      If you need assistance with Electronic Filing you may call the Bankruptcy Court at (615) 736-
5584. You may also visit the Bankruptcy Court in person at: 701 Broadway, 1st Floor, Nashville, TN
(Monday – Friday, 8:00 a.m. – 4:00 p.m.).

       2.      Your response must state the deadline for filing responses, the date of the scheduled
hearing, and the motion to which you are responding.

       3.      If a response is filed before the deadline stated above, the hearing will be held at the time
and place indicated above. THERE WILL BE NO FURTHER NOTICE OF THE HEARING DATE.
You may check whether a timely response has been filed viewing the case on the Court's web site at
<www.tnmb.uscourts.gov>.



4891-7127-9212.1
     Case 3:23-bk-02202       Doc 9   Filed 06/28/23 Entered 06/28/23 14:28:50             Desc Main
                                      Document     Page 1 of 11
       If you or your attorney do not take these steps, the Court may decide that you do not
oppose the relief sought in the motion and may enter an order granting that relief.

Date: June 28, 2023
                                          Respectfully Submitted:

                                          /s/ Austin L. McMullen
                                          Austin L. McMullen (No 20877)
                                          Bradley Arant Boult Cummings LLP
                                          1600 Division St., Suite 700
                                          Nashville, TN 37203
                                          (615) 252-2307
                                          AMcMullen@Bradley.com

                                          Attorneys for Debtor


                                     CERTIFICATE OF SERVICE

               The undersigned hereby certifies that on the 28th day of June, 2023, the foregoing
document was automatically served via the Court’s electronic filing system to those parties registered to
receive electronic filings in this case and by U.S. Mail, postage pre-paid, to the attached mailing list.


                                                   /s/ Austin L. McMullen
                                                   Austin L. McMullen




4891-7127-9212.1
     Case 3:23-bk-02202      Doc 9    Filed 06/28/23 Entered 06/28/23 14:28:50          Desc Main
                                      Document     Page 2 of 11
4891-7127-9212.1
     Case 3:23-bk-02202   Doc 9   Filed 06/28/23 Entered 06/28/23 14:28:50   Desc Main
                                  Document     Page 3 of 11
AMAREX
DET. LOCKBOX #771390                             THE PROIMMUNE COMPANY
PO BOX 77000                                     64 EAST MARKET ST
DETROIT, MI. 48277-1380                          RHINEBECK, NY 12572

COVINGTON & BURLING LLP                          RYAN ABBOTT
ONE CITY CENTER                                  BROWN, NERI, SMITH & KHAN, LLP
850 TENTH STREET, NW                             11601B WILSHIRE BLVD #2080
WASHINGTON, DC 20001                             LOS ANGELES, CA 90025

DAVIS, PICKREN, SEYDEL & SNEED                   ALBERT CRUM
285 PEACHTREE CENTER AVENUE                      64 EAST MARKET ST
NORTHEAST                                        RHINEBECK, NY 12572
ATLANTA, GA 30303
                                                 JEFFREY BENORE
POLSINELLI                                       2811 E. ERIE RD
1401 EYE STREET N.W.                             ERIE, MI 48133
SUITE 800
WASHINGTON, DC 20005                             MICHAEL GEOFFREY ABELOW
                                                 SHERRARD ROE VOIGHT & HARBISON
PRECISION EFFECT                                 PLC
133 FEDERAL STREET                               150 THIRD AVENUE NORTH, STE. 1100
FL 10                                            NASHVILLE, TN 37201
BOSTON, MA 02110
                                                 JEFFREY S. GRASL
SAMINCHEM, INC.                                  OFFICE OF THE UNITED STATES TRUSTEE
3225 GRAPEVINE ST.                               701 BROADWAY, STE. 318
MIRA LOMA, CA 91709                              NASHVILLE, TN 37203

RESOLVE MEDIATION SERVICES, INC.
1211 AVENUE OF THE AMERICAS
40TH FLOOR
NEW YORK, NY 10036-8704

SOVEREIGN PHARMACEUTICAL
7590 SAND STREET
FORT WORTH, TX 76118

STUDIO CHARLE
6105 BLUE STONE ROAD
SUITE #303
ATLANTA, GA 30328

JIM TAFEL JR
1215 TROON CT
ALPHARETTA, GA 30005



4891-7127-9212.1
     Case 3:23-bk-02202   Doc 9   Filed 06/28/23 Entered 06/28/23 14:28:50   Desc Main
                                  Document     Page 4 of 11
                            IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE MIDDLE DISTRICT OF TENNESSEE
                                       NASHVILLE DIVISION


In re:                                              )    Chapter 11
                                                    )
THREE AMINOS, LLC,                                  )    Case No. 3:23-bk-02202
                                                    )
                          Debtor.                   )    Hon. Charles M. Walker


                      APPLICATION FOR ORDER OF EMPLOYMENT OF
              BRADLEY ARANT BOULT CUMMINGS LLP AS BANKRUPTCY COUNSEL

         The above-captioned debtor (the “Debtor”) seeks entry of an order, substantially in the form

attached hereto as Exhibit A, to approve the employment of Bradley Arant Boult Cummings LLP as

bankruptcy counsel for the Debtor pursuant to 11 U.S.C. § 327 and Bankruptcy Rule 2014 and as grounds

for this Application would show unto the Court as follows:

                                             Jurisdiction and Venue

         1.        The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

         2.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.        The bases for the relief requested herein are § 327(a) of title 11 of the United States Code,

(the “Bankruptcy Code”) and Bankruptcy Rule 2014.

                                                   Background

         4.        On June 21, 2023 (the “Petition Date”), the Debtor filed a voluntary petition for relief

under Chapter 11, Subchapter V of the Bankruptcy Code. The Debtor is operating its business as debtor in

possession pursuant to §§ 1107(a), 1108 and 1184 of the Bankruptcy Code.                   No request for the

appointment of a trustee or examiner has been made in this Chapter 11 case, and no committees have been

appointed or designated at this time.




4891-7127-9212.1
     Case 3:23-bk-02202           Doc 9   Filed 06/28/23 Entered 06/28/23 14:28:50             Desc Main
                                          Document     Page 5 of 11
                                                Basis for Relief

         5.        The Debtor desires to employ the law firm of Bradley Arant Boult Cummings LLP

(“Bradley”), 1600 Division St., Suite 700, Nashville, Tennessee 37203, as its bankruptcy counsel in this

Chapter 11 case.

         6.        Certain members of Bradley are admitted to practice in this Court, have knowledge and

experience in bankruptcy law, and are well qualified to represent the Debtor.

         7.        In the continuance of Debtor’s business and the pending Chapter 11 case, it will be

necessary for various professional legal services to be rendered for which it is necessary to retain attorneys.

These services include:

                   a.     Preparing pleadings and applications for filing and conducting examinations

         incidental to any related proceedings or to the administration of this case;

                   b.     Advising the Debtor of its rights, duties, and obligations as a Debtor operating

         under Chapter 11 of the Bankruptcy Code in this District;

                   c.     Taking any and all other necessary action incident to the proper preservation and

         administration of this Chapter 11 case, including the sale of assets;

                   d.     Advising and assisting the Debtor in the formation and confirmation of a plan

         pursuant to Chapter 11 of the Bankruptcy Code, the disclosure statement, and any and all matters

         related thereto, and

                   e.     Performing other services needed of bankruptcy counsel in this Chapter 11 case.

         8.        To the best of the Debtor’s knowledge, and as evidenced by the attached declaration of

Austin McMullen, no member of Bradley holds or represents an interest adverse to these estates and all




4891-7127-9212.1
     Case 3:23-bk-02202          Doc 9   Filed 06/28/23 Entered 06/28/23 14:28:50             Desc Main
                                         Document     Page 6 of 11
members are “disinterested” persons under the Bankruptcy Code. Further, no member has any connection

with the U.S. Trustee and any person employed in the office of the U.S. Trustee.

         9.        The Debtor proposes to compensate Bradley for the services of its attorneys and paralegals

according to their hourly rates as those rates may from time to time be adjusted during the pendency of this

Chapter 11 case. The current rate for the services of Austin McMullen, the bankruptcy partner that will be

the Debtor’s main contact, is $640.00 per hour. Other attorneys that are available to assist who may spend

significant time in this case areWilliam L. Norton, III ($670.00/hr) and Erin Malone-Smolla ($445.00/hr).

         10.       On or about June 13, 2023, Bradley was paid $51,738 as a retainer for anticipated

bankruptcy counsel services, of which $6,815 was applied to pay for legal services incurred prior to the

filing of the Debtor’s Chapter 11 petition. The remaining $44,923 is being held as a retainer to be applied

to the post-petition services to be rendered by Bradley in this Chapter 11 case.

         WHEREFORE, the Debtor requests that the Court enter the attached proposed order approving the

employment of Bradley Arant Boult Cummings LLP pursuant to Title 11, Section 327 of the United

States Code and Bankruptcy Rule 2014 as the Debtor’s bankruptcy counsel in this case under the terms

and conditions provided in this Application.

                                              Respectfully Submitted:


                                              /s/ Austin L. McMullen
                                              Austin L. McMullen (No. 20877)
                                              Bradley Arant Boult Cummings LLP
                                              1600 Division St., Suite 700
                                              Nashville, TN 37203
                                              (615) 252-2307
                                              AMcMullen@Bradley.com




4891-7127-9212.1
     Case 3:23-bk-02202          Doc 9    Filed 06/28/23 Entered 06/28/23 14:28:50          Desc Main
                                          Document     Page 7 of 11
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In re:                                           )     Chapter 11
                                                 )
THREE AMINOS, LLC,                               )     Case No. 3:23-bk-02202
                                                 )
                        Debtor.                  )     Hon. Charles M. Walker

                 DECLARATION IN SUPPORT OF APPLICATION TO EMPLOY
              BRADLY ARANT BOULT CUMMINGS LLP AS BANKRUPTCY COUNSEL

         I, Austin McMullen, in support of the Application of the above Debtor for employment of Bradley

Arant Boult Cummings LLP (“Bradley”) as bankruptcy counsel for the Debtor in this Chapter 11 case,

state as follows:

                   1.   I am a member of the firm of Bradley Arant Boult Cummings LLP, 1600 Division

St., Suite 700, Nashville, TN 37203, and am duly admitted to practice in the United States District Court

for the Middle District of Tennessee.

                   2.   To the best of my knowledge, each member of Bradley is a disinterested person in

this case and no member represents or holds any interest adverse to any of the above Debtor or its estate

in the matters upon which Bradley is to be engaged. Further, no member has any connection with the

U.S. Trustee and any person employed in the office of the U.S. Trustee.

                   3.   I have personally reviewed the list of creditors and parties of interest provided by

the Debtor, and none of them are clients of Bradley.

                   4.   On or about June 13, 2013, Bradley was paid $51,738 as a retainer for anticipated

bankruptcy counsel services, of which $6,815 was applied to pay for legal services incurred prior to the




4891-7127-9212.1
     Case 3:23-bk-02202        Doc 9    Filed 06/28/23 Entered 06/28/23 14:28:50           Desc Main
                                        Document     Page 8 of 11
filing of the Debtor’s Chapter 11 petition. The remaining $44,923 is being held as a retainer to be applied

to the post-petition services to be rendered by Bradley in this Chapter 11 case.

                   5.     Bradley has agreed to represent the Debtor in this Chapter 11 case upon the terms

and conditions set forth in the Debtor’s Application.

                   THIS 28th day of June, 2023.

                                                   /s/ Austin L. McMullen
                                                  Austin L. McMullen (No. 20877)
                                                  Bradley Arant Boult Cummings LLP
                                                  1600 Division St., Suite 700
                                                  Nashville, TN 37203
                                                  615-252-2307
                                                  AMcMullen@Bradley.com




4891-7127-9212.1
     Case 3:23-bk-02202          Doc 9   Filed 06/28/23 Entered 06/28/23 14:28:50          Desc Main
                                         Document     Page 9 of 11
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In re:                                            )   Chapter 11
                                                  )
THREE AMINOS, LLC,                                )   Case No. 3:23-bk-02202
                                                  )
                         Debtor.                  )   Hon. Charles M. Walker


                               ORDER APPROVING EMPLOYMENT OF
                              BRADLEY ARANT BOULT CUMMINGS LLP

                   This came before the Court upon the Application of the Debtor requesting authority to

employ Bradley Arant Boult Cummings LLP as its bankruptcy counsel. It appearing to the satisfaction of

the Court that notice of the Application was provided pursuant to Local Rule 9013-1 on June 28, 2023,

and that there were no objections to the Application or that any objection has been withdrawn or

overruled, and, accordingly, the Application should be granted, it is

                   ORDERED as follows:

                   a)    The Debtor is hereby authorized to retain Bradley Arant Boult Cummings LLP as

its bankruptcy counsel to represent it in the above Chapter 11 case pursuant to Bankruptcy Code

Section 327 and Bankruptcy Rule 2014, under the terms and conditions set forth in the Application. This




4891-7127-9212.1
     Case 3:23-bk-02202         Doc 9    Filed 06/28/23 Entered 06/28/23 14:28:50       Desc Main
                                        Document      Page 10 of 11
authorization shall be effective as of the date of the filing of the Debtor’s Chapter 11 petition on June 21,

2023.

                   b)   No funds, including the prepetition retainer held by Debtor’s counsel, may be

applied to post-petition fees or expenses absent entry of an order approving the fees and expenses to be

paid.

This Order Was Signed And Entered Electronically as Indicated At The Top Of The First Page


APPROVED FOR ENTRY:


/s/ Austin L. McMullen
Austin L. McMullen (No. 20877)
Bradley Arant Boult Cummings LLP
1600 Division St., Suite 700
Nashville, TN 37203
(615) 252-2307
AMcMullen@Bradley.com




4891-7127-9212.1
     Case 3:23-bk-02202       Doc 9    Filed 06/28/23 Entered 06/28/23 14:28:50             Desc Main
                                      Document      Page 11 of 11
